Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 1 of 30
Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 2 of 30
Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 3 of 30
Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 4 of 30
Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 5 of 30
Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 6 of 30
Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 7 of 30
Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 8 of 30
Case 08-36642-KLP   Doc 1   Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document     Page 9 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 10 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 11 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 12 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 13 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 14 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 15 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 16 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 17 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 18 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 19 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 20 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 21 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 22 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 23 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 24 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 25 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 26 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 27 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 28 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 29 of 30
Case 08-36642-KLP   Doc 1    Filed 12/29/08 Entered 12/29/08 20:13:51   Desc Main
                            Document      Page 30 of 30
